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                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF LOUISIANA
                             SHREVEPORT DIVISION

WILLIAM DEAN TUGGLE, SR.                          CIVIL ACTION NO. 13-cv-2908

versus                                            JUDGE HICKS

DAVID F. DIES, ET AL                              MAGISTRATE JUDGE HORNSBY

                                        ORDER

       1. Scheduling Conference. A Scheduling Conference will be held in my chambers
on February 5, 2014, at 10:00 a.m. Out-of-town attorneys may participate by telephone
(318-676-3265) by making prior arrangements with the undersigned. The use of cell phones
is prohibited.

       2. Rule 26 Meeting. By January 15, 2014, the Trial Attorneys for each party shall
meet, in person or by telephone, to develop a Case Management Report ("CMR") and discuss
the issues listed in F.R.C.P. 26(f). A party may not seek discovery before the Rule 26(f)
meeting unless there is an agreement of the parties or order of the court permitting the
discovery. F.R.C.P. 26(d).

       3. Case Management Report & Initial Disclosures. By January 29, 2014, the
parties must (1) file the CMR in the format available on www.lawd.uscourts.gov and (2)
exchange the initial disclosures required by F.R.C.P. 26(a)(1). A paper courtesy copy of the
CMR must be mailed or hand delivered to my chambers at 300 Fannin Street, Suite 1148,
Shreveport, LA 71101. Do not fax or email anything to chambers without prior authorization
of the undersigned.

       4. Responsibility of Trial Attorney. The Trial Attorney for each party shall attend
the Scheduling Conference. If the Trial Attorney is unable to attend at the scheduled time,
he or she should not ask an associate to cover the conference; instead, he or she is directed
to contact the undersigned immediately to reschedule the conference.

      THUS DONE AND SIGNED at Shreveport, Louisiana, this 18th day of December,
2014.
  2013.
